                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

IN RE:                                )      IN PROCEEDINGS UNDER
                                      )      CHAPTER 13
         Betty J. Cromwell            )
                                      )      CASE NO.: 22-12635
                                      )
                      Debtor          )
                                      )      JUDGE Price Smith

                                             RESPONSE TO TRUSTEE’S OBJETION TO
                                             CONFIRMATION


        Now comes the above named Debtor, by and through Jonathan I. Krainess, attorney
for said Debtor, and responds to the Trustee’s Objection to Confirmation. The Debtor filed a
Chapter 13 and is paying back the preference to her creditors. The Debtor listed said preference
and is doing what the law requires of her to do. As such, the case has been filed in good faith and
the Chapter 13 Trustee’s objection to confirmation should be overruled and the Debtor’s case
should be confirmed.

                                             Respectfully Submitted,

                                             _/s/ Jonathan I. Krainess ________
                                             Krainess Law Firm LLC
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                                             Beachwood, OH 44122
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                                 CERTIFICATE OF SERVICE
       The undersigned certifies that on October 20, 2022, a true and correct copy of the above
Response was served via the Court’s Electronic Case Filing System on these entities and individuals
who are listed on the Court’s Electronic Mail Notice List:
-Jonathan I. Krainess, on behalf of Debtor, at jkrainess@sbcglobal.net.
-Lauren A. Helbling, Chapter 13 Trustee’s Office at Ch13trustee@ch13cleve.com

                                                     /s/ Jonathan I. Krainess______
                                                     Jonathan I. Krainess, Esq.




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